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e584 CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, exceptas provided
by local rules of court. This form. approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket Sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM)

 

I. (a) PLAINTIFES DEFENDANTS
Henry Chan Academy Collection Services, Inc.

(D) County of Residence of First Listed Plaintif! Montgomery Co., MD County of Residence of First Listed Defendant Philadelphia Co. PA
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

(¢€) Attorney's (Firm Name, Address, Telephone Number, and Email Address) Attorneys CP Known)

Warren & Vullings, LLP, 1603 Rhawn St. Phila. PA 19711
215-745-9800

 

 

ll. BASIS OF J URISDICTION | (Place an *X” in One Box Only) tif. CITIZENSHIP OF PRINCIPAL PARTIES (tace an °X” in One Box for Plaintiff
(For Diversity Cases Only} and One Box for Defendant)
chi US. Gevernment B38 Federal Question PTF DEF PEF DEF
Plaintiff (US. Government Nota Party) Citizen of This State =a Tot lncorporated ar Principal Phice a4 a4

  
 

of Business

M2 US. Government Ch 4 Diversity Citizen of Another State A 2 Ch 2) Incorporated aad Principal Place a 3 © 5

Defendant . wes . of Business In Another State
Undicate Citizenship of Partics ia Item HD

Citizen or Subject of a a3 C} 3 Foreign Nation Ch 6 cl 6
Foreign Country

 

IV. NATURE OF SUIT (piace an “Xx” in One Box Only)

 

 

 
  
 

 

 

 

  

  
 
   
 
 

 

      
 

 

 

     
    
        

    
 

    

 

   

 

 

   

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| CONTRACT. TORTS FORFEITURE/PENALTY. BANKRUPTCY OTHER STATUTES
C110 Insurance PERSONAL INJURY PERSONAL INJURY — {0 610 Agriculture CT 422 Appeal 28 USC 158 21 400 Sete Reapportionment
oF 120 Marine C) 310 Airplane Ch 362 Personal Injury - &1 620 Other Food & Drug 423 Withdrawal SP 410 Antitrust
C1 130 Miller Act O o315 Airplane Product Med, Malpractice Ci 625 Drug Related Seizure 28 USC 1S7 C1) 430 Banks and Banking
T 140 Negotiable Instrument Liability E1365 Personal Injury - of Property 21 USC 881 1 450 Commerce
TT 150 Recovery of Overpayment [F326 . Libel & Product Liability “1 630 Liquor Laws PROPERTY RIGHTS C1 460 Deportation
& Enforcement of Judgment Slander OC) 368 Asbestos Personal C1 640 RR. & Truck Cl 820 Copyrights Cl 470 Racketeer [Influenced and
C1 1S) Medicare Act 330 Federal Employers” Injury Product “1 680 Airline Regs. $30 Patent Corrupt Organizations
CP US? Recovery of Defaulted Liability Liability TF 660 Occupational CP 840 Trademark F480 Consumer Credit
Student Loans CP 340 Marine PERSONAL PROPERTY Safety/Health OF 490 Cable/Sat TV
(Excl. Veterans) a ine Product 1 370 Other Fraud OF 690 Other CI 810 Selective Service
1 153 Recovery of Overpayment Liability a 1 Truth in Lending LABOR SOCIAL SECURITY. a 8 ecurities’/ Commodities
of Veteran's Benefits cP 350 Motor Vehicle 380 Other Personal £1 710 Fair Labor Standards CP S86) HIA (13951) xchange
160 Stockholders’ Suits C355 Motor Vehicle Property Damage Act C1 S62 Black Lung (923) OP 875 Customer Challenge
T 190 Other Contract Product Liabilits Cl 385 Property Damage TP 720 Labor/Mgmt. Relations oF 863 DIWC/DIWW (403(2)) 12 USC 3410
CP 9S Contract Product Liability [C) 360 Other Personal Product Liability C1730 Labor/Mgmt. Reporting CI 864 SSID Tide XVI SA $90 Other Stantory Actions
CT 196 Franchise Infury & Disclosure Act CP ORGS } OC) 80] Agricultura
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS JC) 740 Railway 4 FE j s M892 Economic Stabilization Act
Ch 210 Land Condemnation ] ddl Voting S10 Motions to Vacate 790 Other Labor Liugation SP 870 Taxes (U.S. Plaintiff O) §93 Environmental Matters
CH 220 Foreclosure CO 442 Employment Sentence 791 Empl. Ret. Ine. or Defendant) a Allocation Act
oT 230 Rent Lease & Ejectment [C443 Housing Habeas Corpus: Security Act C1 S7LIRS--Third Party a edom of Information
C1 240 Torts to Land Accommodations C1 530 General 26 USC 7609 Act
CT 2458 Tort Product Liabiliny o) ddd Welfare [$35 Death Penalty [MNVUGRATION GC) 900Appeal of Fee Determination
Sc) 290 All Other Real Property F445 Amer. wiDisabilities - [4 S40 Mandamus & Other [CI 462 Naturalization Application Under Equal Access
Employment oI 350 Civil Rights ©1463 Habeas Corpus - to Justice
CI 446 Amer. w/ Disabilities - [$55 Prison Condition Alien Detaince 950 Constitutionality of
Other © 465 Other Immigration State Statutes
TT dd Other Civ) Rights Actions
V. ORIGIN (Place an “X" in One Box Only) . . Appeal to District
S| Orginal PT) 2 Removed from 3  Remanded from ] 4 Reinstated or OC) 5 | ransterred from C16 Multidistrict 7 Judge from
Proceeding State Court Appellate Court Reopened another dist ict Litigation Magistrate
(specify) Judgment
Cite the apr eons’ sEwBich age ars ling (Re pot Sigdurisdictional statutes unless diversity):
Vi. CAUSE OF ACTION Brief description of cause:
Violation of FOCPA
VIL. REQUESTE DIN CS) CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: wf Yes  C1No

 

VILL RELATED CASE(S) “Seo instructions)

: JUDGE DOCKET N

 

[BER

 

Explanation:

 

DATE SIGNATURE OF ATTORNEY OF RECORD

10/10/2008 /s/ Bruce K. Warren, Esq. bruce@warrenvullingslaw.com

 
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UNITED STATES DISTRICT COURT APPENDIX F

FOR THE EASTERN DISTRICT OF PENNSYLVANIA DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of

 

sanriient to appropriate calencar

Address of Plainure Elenry Chan, 2300 Patternbond Dr., Silver Spring, MD 20902

addres ofDetentane Academy Collection Services, Inc., 10965 Decatur Road, Philadelphia, PA [9154
Place of Accident Incident or Transaction Philadelphia County, PA

(Use Reverse Side for additional space

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning (0%, or more of His stack?

(Attach two copies of the Disclosure Statement Form in accordance with Fed. RoCivw.P.7.1Ca))

Does this case involve multidistrict litigation possibilities’?

Yes [No &
RELATED CASE IP ANY

 

Case Number Judge Date Terminated
(Civil causes are deemed related when yes is answered to any of the following questions

_{s this case related d to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

 

 

Yes No &
2. Does this case invalve the same issue of fact or grow out of the same transaction as a prior sult pending or within one year prev iously terminated
action in this court? Yes No %&
3. Does this case involve the validity or infringement of a patent already in suit or in any earlier numbered case pending or within one year previously
terminated action in this court? Yes No XK

 

 

CIVIL (Place X in ONE CATEGORY ONLY)
A. Federal Question Cases: B. Diversity Jurisdiction Cases..
} a Indemnity Contract. Marine Contract, and All Other Contracts | Insurance Contract and Other Contracts

be

 

Airplane Personal Injury

Loo

 

! Jones Act-Personal Injury

 

 

3 Assault, Defamation
| Antitrust A Marine Personal Injury
: my Patent 5 Motor Vehicle Personal Injury
Labor-Management Relations 6, Other Personal Injury (Please Specify)

   

Civil Rights 7,

 

Products Liability

Ll Habeas Corpus Products Liability - Asbestos

9. © Securities Act(s) Cases

 

All other Diversity Cases

 

Sowal Security Review Cases (Please Specify)
it BS Albother Federal Question Cases

(Please specify) Fair Debt Collection Practices Act

ARBITRATION CERTIFICATION

CO Frech ob paperenger bette CLOTS)

|, Bruce K. Warren

Counsel of record do hereby certify:
Pursuant to Local Civil Rule 53.2, Section 3(c)(2). that to the best of my. knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monctary damages is sought

pare. 10/10/08 /s/Bruce K. Warren

Attorney-at-Law

89677

Attomey [DF

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

| certify that to my knowledge. the within case is not related to any case now pending or within one year previously terminated action in this Court
except as noted above.

10/10/08

DATE.

 

és/Bruce K. Warren 89677

Attorney-al-Law Attorney ([D #
CIV.609 (4/03)
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APPENDIX |
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

CIVIL ACTION

Henry Chan

Academy Collection Services, Inc. NO.

In accordance with the Civil Justice Expense and. Delay Reduction Plan of this court, counsel for

plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse

side of this form.) In the event that a defendant does not agree with the plaintiff regarding said

designation, that defendant shall, with its first appearance, submit to the clerk of court and serve oni

tie plaintiff and all other parties, a case management track designation form specifying the track to

which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. $2241 through $2255. ()
(b) Social Security- Cases requesting review of a decision of the Secretary of Health

and Human Services denying plaintiff Social Security Benefits ()
(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )
(d) Asbestos - Cases involving claims for personal injury or property damage from

exposure to asbestos. ()
(e) Special Management - Cases that do not fall into tracks (a) through (d) that are

commonly referred to as complex and that need special or intense management by

the court. (Sce reverse side of this form for a detailed explanation of special

management cases.) ()
(f) Standard Management - Cases that do not fall into any one of the other tracks (x)

10/10/08

 

 

 

 

is/Bruce K. Warren Plaintiff
Date Attorney-at-law Attorney for
215-745-9800 215-745-7RRO Bruce@warrenvullingslaw.com
Telephone FAX Number E-Mail Address

(Chy. 660) 1070
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

HENRY CHAN ) Case Number
)
)
Plaintiffs, )
) CIVIL COMPLAINT
vs. )
)
ACADEMY COLLECTION SERVICES, ) JURY TRIAL DEMANDED
INC. )
)
- Defendant. )

 

 

COMPLAINT AND JURY DEMAND

COMES NOW, Plaintiff, Henry Chan, by and through his undersigned counsel, Bruce

Warren of Warren & Vullings, LLP, complaining of Defendant, and respectfully avers as

 

follows:
IL INTRODUCTORY STATEMENT
L. Plaintiff, Henry Chan (hereinafter “Plaintiff’), is an individual consumer and

brings this action for actual and statutory damages and other relief against Defendant for
violations to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seg. (*FDCPA”), which
prohibits debt collectors from engaging in abusive, deceptive and unfair practices.

IL. JURISDICTION

2. Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C. 91337,

3. Venue in this District is proper in that the Defendant transacts business here and

maintains its corporate office in Philadelphia, PA.

fl. PARTIES
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4. Plaintiff, Henry Chan is an adult natural person residing at 2300 Patternbond Dr.,

Silver Spring, MD 20902.

5. Defendant, Academy Collection Services, Inc. (“Defendant”), at all times relevant
hereto, was a collection agency engaged in the business of collecting debt within the

Commonwealth of Pennsylvania, with its principal place of business located at 10965 Decatur

Road, Philadelphia, PA 19154.

6. Defendant is engaged in the collection of debts from consumers using the
telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be due to

another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).
Iv. FACTUAL ALLEGATIONS

7. On March 12, 2008 at 2:06 p.m., Plaintiff began receiving calls from Defendant
looking for a man named Piyarat Bumrungsiri. The number Defendant called from 1s 215-320-

0424.

8. Plaintiff does not know anyone by that name nor has Plaintiff ever known anyone
by that name and he expressed same when defendant contacted his cell phone.

9. Plaintiff began to receive a series of phone calls from Defendant as follows:
March 31, 2008 at 2:25 p.m., April 1, 2008 at 3:13 p.m., April 2, 2008 at 12:20 p.m., April 2,

2008 at 1:03 p.m. and April 4, 2008 at 10:51 a.m. Each time an automated recording was left for

Piyarat Bumrungsiri and a reference number of 14787145 was given.
10, Plaintiff sent a letter to Defendant on April 2, 2008 regarding the calls to his cell
phone because they were both annoying and costly to him. Defendant confirmed in writing that

they had received this letter on April 10,2008. Please see Exhibit “B” attached hereto.
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LI. Plaintiff called Defendant on April 8, 2008 and left a message for Complaint

o

Manager, Nancy Fortino. He requested that the calls to his cell phone cease. Defendant

ve from Plaintiff. Please see Exhibit “B” attached hereto.

acknowledged in writing the messag

12. Not withstanding the above, on September 26, 2008 at 1:45 p.m., Plaintiff
received a call from Defendant (215-320-0424) to his cell phone.

13, On September 27, 2008 at 7:59 a.m., Plaintiff received a call from Defendant to
his cell phone. The number Defendant called from was 856-668-4530, A female agent of
Defendant left a message in which she addressed Henry Chan by name and expressed a desire to
reach Piyarat Bumrungsiri through Plaintiff. She asked Plaintiff to call her back at 866-227-

0605 extension 2685. Defendant’s representative failed to give her name or the name of the

agency she was calling from.

14. On September 29, 2008 at 9:49 a.m., Plaintiffreceived a call from Defendant

(856-668-4525) to his cell phone.

IS. Plaintiff acquired his cell phone number in January of 2004. According to
Defendant’s written statement of May 8, 2008, in which Defendant claimed to have removed
Plaintiff's number from their file, Defendant did not receive this collection account until March

6, 2008. Defendant was clearly using outdated information that had not been confirmed.

16. Defendants’ harassing, deceptive and rude third party communications to Plaintiff

are violations of the FDCPA.
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COUNT I
FDCPA VIOLATION 15 U.S.C. § 1692 et seq.

17, The above paragraphs are hereby incorporated herein by reference.
ls. Defendant violated the FOCPA. Defendant’s violations include, but are not
limited to, the following: 15U.S.C. §1692 b(1), b(3), c(ay(1), c(b), c(c), d, d(S), d(6), e and f.

WHEREFORE, Plaintiff respectfully requests that this court enter judgment in

their favor and against Defendant and Order the following relief:

a. Declaratory judgment that the Defendant’s conduct violated the FDCPA;

b. Actual damages;

C, Statutory damages pursuant to 15 U.S.C. §1692k;

d. Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k; and
e, Such addition and further relief as may be appropriate or that the interests of

justice require,

V. JURY DEMAND

Plaintiff hereby demands a jury trial as to all issues herein.

Respectfully submitted,

WARREN & VULLINGS, LLP

Date: October 9, 2008 BY: /s/Bruce K. Warren
Bruce K. Warren, Esquire
Warren & Vullings, LLP
[603 Rhawn Street
Philadelphia, PA 19111
215-745-9800 Fax 215-745-7880
Attorney for Plaintiffs
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HIBIT “A”

  
Case 2:08-cv-04874-JCJ Document1 Filed 10/14/08 Page 9 of 13

2300 Patternbond Dr.
Sout Spr ng, MD 20902
April 2, 2008

Academy Services
ATTN: Nancy Fortino
10965 Decatur Rd.
Philadelphia PA 19]:

Ms Fortino (or whatever your real name is):

| want you to remove my cell phone number (240-401-7117) from your database. | have

been getting pre-recorded de st collection notices to some person whom | don’t even
know on] ms ce l phone. The phone number from which you have been calling me is
215-320-( . Dates and Times are as follows:

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‘ t all. The receptionist. who refused to
say her name, at 215-3 06)-0424 said t that you are the person to whom | should address m3
complaint. | am NOT the person addressed in the pre-recorded message, and | do NOr
have any delinquent bills. | want you to STOP ringing my cell phone i srnesiatels

These unwanted calls are annoying me and costing me moncy.

ss
o

 

If you persist, you will be violating the I r Debt Collection Practices Act.

Your truly,
Zé
f

, f
We IV Ae? A (4 ett /
ee .
4

Henry 5. Chan

 

ce:

Office of Attorney General
Bureau of Consumer Protection
t4th Floor, Strawberry Square
Harrisburg, PA 17120
Case 2:08-cv-04874-JCJ Document1 Filed 10/14/08 Page 10 of 13

Office of the Attorney General
200 St. Paul Place
Baltimore, MD 21202

Federal Trade Commission
Consumer Response Center
600 Pennsylvania Avenue, NW
Washington, DC 20580
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Case 2:08-cv-04874-JCJ Document1 Filed 10/14/08 Page 12 of 13

05/14/2008 WED 14:53 FAX 215 281 3535 ACS

AC ADEMY —

‘May 82008:

_ "Via Facsimile 410-333-3866."

~ Kateit D. Brooks, Financial Regulation Examiner
~ Department of ‘Tabor, Licensing-and Regulation,
- Office of the Commission of Financial Regulation, -
500 ‘Notth Calvert Street, Suite A402 oe
Baltimore, MD 21202-3651. oo

a “Dear Mr, ‘Caras

RE: - Henry Chan ae vets rs
Your File #: _DR-08- 2061
Our File. He: 147 & FLAS

 

 

; Having reviewed aur ie and the. above e referenced complaint, we oe ‘the toilowing

age

“ Our + cient: Citibank (South Dakota) N A, placed this account: in our office: on March 6,
we 2008, belonging. to Piyarat Buimriingsir. “Academy did tiot have. a valid telephone number
~~. for Pryarat Bumfungsin, and. conducted a public recor ores | sear cht to. obtain possible

 

 

se telephone: numbers.

a 2): oe ‘On April < 2008, Nancy Fortino, ‘Contpl aint it Manager “received a-voice mail messare
= from Mr. Chan advising us that we were’calling the.wrong: number. Ms. Fortino ~
| ‘immediately. removed Mr. Chan’s telephone: number from our file and we did not call there
-» vagain. ‘This.was. the first notice that we. received: that we were calling the wrong. number, .
_ Novone'from Academy has evér ‘spoken to Mr. Chan, except ‘for, the receptionist that —
7 transferred Mr. Chan’ 8: call to our. ar complaint department: -

 
 
 
 

; 40985 Decatur Road’

On April 10, 2008, we ceoeivel a. Setter from Mi. Chan (a copy y of which i is ‘attached to mhe
~ ¢omplaint) advising our office that we were. calling the ‘wrong number, No action needed
tobe taken + as Mr. ‘Chan’: S ‘telephone number had. already: ‘been removed from our file.

Philadelphia, PA T8154. .

| (215).281-7500.-.

i O01
Case 2:08-cv-04874-JCJ Document1 Filed 10/14/08 Page 13 of 13

(05/14/2008 WED 14:55 FAX 215 281 3535 ACS

    

Ay “Academy regrets aty inconvenience our calls may have caused Mr: Cha

Zo a4 AO

Thani you “for your coopération in this matter, Please feel “free to ‘contact me atl 1-866-227 O505
ext. 2201 ate can be of f further assistance. :

       

* Parelegal ee
